 

 

IN THE COURT OF COMMON PLEAS OF WESTMORELAND COUNTY, PA.
CIVIL DIVISION

 

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CHRISTINE BIROS, ). No. 4886 of 2017
Plaintiff,
vs. !
U LOCK, INC.,
Defendant .

* *

 

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HEARD: Friday, May 20, e222

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_ BEFORE: The roporalie Harry F. smail, Jr., Judge

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On behalf of the Plaintiff: Pig? SSF
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WILLIAM E. OTTO, ESQ. = PF se
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On behalf of the Defendant:
ALAN ROTH, ESQ.

 

 

 
